                                        NO. 12-24-00019-CR

                               IN THE COURT OF APPEALS

                 TWELFTH COURT OF APPEALS DISTRICT

                                            TYLER, TEXAS

EZELL THOMPSON, SR.,                                      §    APPEAL FROM THE 114TH
APPELLANT

V.                                                        §    JUDICIAL DISTRICT COURT

THE STATE OF TEXAS,
APPELLEE                                                  §    SMITH COUNTY, TEXAS

                                        MEMORANDUM OPINION
                                            PER CURIAM

         Appellant, Ezell Thompson, Sr. filed a motion to dismiss this appeal.         The motion is
signed by Appellant and his counsel.                  No decision has been delivered in this appeal.
Accordingly, Appellant’s motion to dismiss is granted, and the appeal is dismissed. See TEX. R.
APP. P. 42.2(a).


Opinion delivered August 7, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                             (DO NOT PUBLISH)
                                  COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 7, 2024


                                         NO. 12-24-00019-CR


                                     EZELL THOMPSON, SR.,
                                           Appellant
                                              V.
                                     THE STATE OF TEXAS,
                                            Appellee


                                Appeal from the 114th District Court
                         of Smith County, Texas (Tr.Ct.No. 114-2493-23)


                    THIS CAUSE came on to be heard on the motion of the Appellant to dismiss
the appeal herein, and the same being considered, it is hereby ORDERED, ADJUDGED and
DECREED by this Court that the motion to dismiss be granted and the appeal be dismissed, and
that the decision be certified to the court below for observance.

                    By per curiam opinion.
                    Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J
